






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00533-CV






In re Margaret A. Erlewine






ORIGINAL PROCEEDING FROM TRAVIS COUNTY






M E M O R A N D U M   O P I N I O N

	

		Relator Margaret A. Erlewine has filed a petition for a writ of mandamus
challenging the district court's June 7, 2006 protective order.  We deny the petition for writ of
mandamus.  Tex. R. App. P. 52.



						                                                                                 &nbsp; 
						Bob Pemberton, Justice

Before Chief Justice Law, Justices Pemberton and Waldrop

Filed:   October 19, 2006


